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  6
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  7
      Confirmed Chapter 11 Liquidating Plan
  8

  9
                                UNITED STATES BANKRUPTCY COURT
 10

 11                              CENTRAL DISTRICT OF CALIFORNIA

 12                                              NORTHERN DIVISION
 13

 14       In re                                                )     Case No. 9:16-bk-11912-DS
                                                               )
 15       CHANNEL TECHNOLOGIES                                 )     Chapter 11
          GROUP, LLC,                                          )
 16                                                            )     LIQUIDATING TRUSTEE’S
                                    DEBTOR.                    )     THIRD POST-CONFIRMATION
 17                                                            )     STATUS REPORT
                                                               )
 18                                                            )     [No Hearing Set]
                                                               )
 19

 20               TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED
 21   STATES BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED
 22   STATES TRUSTEE, AND ALL OTHER PARTIES-IN-INTEREST:
 23               Corporate        Recovery            Associates,    LLC,    the   Liquidating    Trustee
 24   (“Liquidating Trustee”) appointed under the confirmed Chapter 11 Liquidating
 25   Plan (“Plan”)1 [Docket No. 426] of Debtor Channel Technologies Group, LLC
 26

 27   1    Unless otherwise defined herein, the definitions of the capitalized terms contained herein are

 28   as set forth in the Plan.
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  1   (“Debtor”), hereby submits the following Post-Confirmation Status Report
  2   (“Status Report”), as required by the Order Confirming Chapter 11 Liquidating
  3   Plan [Docket No. 473] (“Confirmation Order”), entered by the Court on March 2,
  4   2018.
  5           A.    Occurrence of the Effective Date.
  6           The Effective Date of the Plan occurred on April 2, 2018. On April 2,
  7   2018, the Liquidating Trustee provided notice of the occurrence of the Effective
  8   Date pursuant to the filing and service of the Notice of: (1) Occurrence of
  9   Effective Date of Chapter 11 Liquidating Plan, and (2) Deadlines for Filing
 10   Certain Claims and Requests for Payment [Docket No. 547].
 11           B.    Status of the Debtor’s Efforts to Consummate the Plan.
 12           The Plan provides, among other things, for the establishment of a
 13   liquidating trust (“Liquidating Trust”) and the appointment of the Liquidating
 14   Trustee to act as the trustee of the Liquidating Trust. The Liquidating Trust was
 15   organized and established to liquidate the assets of the Debtor’s estate for the
 16   benefit of the holders of all Allowed General Unsecured Claims against the
 17   Debtor. Pursuant to the terms of the Plan, the assets of the Debtor’s estate,
 18   including but not limited to potential causes of action held by the Debtor’s estate,
 19   were transferred to the Liquidating Trust on the Effective Date.
 20           1.    The Liquidating Trustee’s Evaluation and Prosecution of
 21                 Litigation Claims.
 22           The Liquidating Trustee has evaluated thoroughly whether avoidance
 23   claims or other litigation claims should be pursued by the Liquidating Trustee for
 24   the benefit of the Debtor’s creditors. Based upon such evaluation, the Liquidating
 25   Trustee has taken certain actions, including negotiating agreements with five
 26   entities for tolling the statutory deadline for pursuing avoidance claims under
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  1   Section 546 of the bankruptcy code, and prosecuting the Litigation Claims. 2
  2          a.      Tolling Agreements. The Liquidating Trustee currently has tolling
  3   agreements with three entities, and is participating in ongoing discussions with
  4   the parties to the tolling agreements regarding potential settlement of ongoing
  5   disputes. The Liquidating Trustee has entered into a settlement agreement with
  6   one entity, and continues to evaluate whether to pursue avoidance actions against
  7   others with which it has pending tolling agreements.
  8          b.      Preference Action. On October 12, 2018, the Liquidating Trustee
  9   filed a complaint against Lynn Chen, seeking, in part, to avoid and recover
 10   pursuant to Sections 547 and 550 of the Bankruptcy Code preferential transfers
 11   made to Ms. Chen in the amount of approximately $203,713 (“Preference
 12   Action”). Griffith & Thornburgh, LLP, substituted in as Plaintiff’s counsel in this
 13   action on February 27, 2019. The initial status conference in this case was held
 14   on March 19, 2019, and a discovery cutoff date of October 31, 2019 was set in the
 15   action.
 16             c. Contingency Fee Litigation. The Liquidating Trustee has retained
 17   the law firm of Lynn Pinker Cox Hurst, LLP (“Lynn Pinker”), a nationally-
 18

 19   2  These Litigation Claims are comprised of i) a preference action filed October 12, 2018,
 20   against Lynn Chen, seeking, in part, to avoid and recover pursuant to Sections 547 and 550 of
      the Bankruptcy Code preferential transfers in approximate amount of $203,713 (“Preference
 21   Action”); ii) an action filed by the law firm of Lynn Pinker Cox Hurst, LLP (“Lynn Pinker”) on
      the Liquidating Trustee’s behalf on October 12, 2018, against BW Piezo Holdings, LLC (an
 22   insider of the debtor), Blue Wolf Capital Partners, LLC and other entities, asserting, among
      others, causes of action for avoidance of fraudulent transfers under Sections 548 and 550 of the
 23
      Bankruptcy Code (“Fraudulent Transfer Action”). The Fraudulent Transfer Action is based, in
 24   part, on Defendants’ diversion of approximately $70 million in gross sale proceeds from sale of
      a debtor-affiliated shell entity.; and iii) an action filed in the Santa Barbara Superior Court on
 25   October 15, 2018, against a number of former directors and officers of the Debtor, asserting,
      among others, causes of action for breach of fiduciary duty and negligence (“D & O Action”)
 26   related, in part, to the diversion of $70 million in gross sale proceeds referenced in the
      Fraudulent Transfer Action. The Preference Action, Fraudulent Transfer Action and D & O
 27
      Action are collectively referred to as the “Litigation Claims.”
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  1   recognized litigation boutique law firm located in Dallas, Texas, to file litigation
  2   claims on behalf of the Liquidating Trustee for the benefit of the Debtor’s
  3   creditors. The Liquidating Trustee has engaged Lynn Pinker on a contingency fee
  4   basis.
  5            On October 12, 2018, the Liquidating Trustee, represented by Lynn Pinker,
  6   filed in this Court a complaint against BW Piezo Holdings, LLC (an insider of the
  7   Debtor), Blue Wolf Capital Partners, LLC and other entities, asserting, among
  8   others, causes of action for avoidance of fraudulent transfers under Sections 548
  9   and 550 of the Bankruptcy Code (“Fraudulent Transfer Action”).
 10            In addition, on October 15, 2018, the Liquidating Trustee, represented by
 11   Lynn Pinker, filed in the Superior Court of the State of California, County of
 12   Santa Barbara (“State Court”), a complaint against a number of former directors
 13   and officers of the Debtor asserting, among others, causes of action for breach of
 14   fiduciary duty and negligence (“D&O Action”). On November 14, 2018, three of
 15   the defendants named in the D&O Action filed a Notice of Removal of the D&O
 16   Action from State Court to this Court (9:18-ap-01070-DS). The Liquidating
 17   Trustee successfully defended against the removal and obtained a remand order,
 18   then turned to defending against multiple motions to dismiss filed by various
 19   defendants in the Fraudulent Transfer Action. Hearing on the motions to dismiss
 20   was held March 18, 2019, before the Honorable Peter H. Carroll, and Judge
 21   Carroll informed the parties that he expected to render a decision regarding the
 22   motions to dismiss within an approximate 30-day period after the hearing.
 23            The Liquidating Trustee believes that the claims asserted pursuant to the
 24   Preference Action, the Fraudulent Transfer Action and the D&O Action are
 25   meritorious, and is hopeful that, by prosecuting the Litigation Claims, the
 26   Liquidating Trustee will recover funds sufficient to enable the Liquidating
 27   Trustee to make meaningful distributions to general unsecured creditors in this
 28   case.
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  1         2.     The Liquidating Trustee’s Evaluation of the Claims Asserted
  2                Against the Debtor’s Estate.
  3         Since the appointment of the Liquidating Trustee pursuant to the terms of
  4   the Plan, the Liquidating Trustee has devoted a significant amount of time and
  5   effort toward evaluating claims asserted against the Debtor in order to determine
  6   the validity of such claims and whether grounds exist to object to any such
  7   claims. Approximately 430 unsecured claims have been asserted against the
  8   Debtor’s estate, asserting initially more than $37.0 million in unsecured claims
  9   against the Debtor. The Liquidating Trustee has identified more than 150 claims
 10   which are subject to dispute in this case, and has already filed objections to 134
 11   claims.    The Liquidating Trustee is currently actively negotiating, with the
 12   assistance of counsel, with the holder of a disputed administrative claim.
 13                a.    Resolution of the Lockheed Martin Claim. On April 10,
 14   2017, Lockheed Martin Corporation-Rotary and Mission Systems (“Lockheed”)
 15   filed a general unsecured claim in the amount of $19,568,400 (“Lockheed
 16   Claim”), based on an alleged breach of that certain Teaming Agreement, dated as
 17   of July 18, 2014, by and between the Debtor and Lockheed. The Debtor engaged
 18   in settlement discussions with Lockheed regarding the resolution of the
 19   Lockheed Claim. On or about April 3, 2018, the Liquidating Trustee entered
 20   into a stipulation with Lockheed, pursuant to which the Lockheed Claim was
 21   reduced from $19,568,400 to $3,841,683 and treated as an allowed general
 22   unsecured claim under the terms of the Plan.
 23                b.    Claims Objections. The Liquidating Trustee has already filed
 24   objections to 134 claims, substantially all of which have been sustained by the
 25   Court.
 26         In addition to such claim objections, the Liquidating Trustee anticipates
 27   addressing, and, if appropriate, filing objections to, numerous other disputed
 28   claims. However, given the number and complexity of the outstanding disputed
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  1   claims in this case, the Liquidating Trustee is employing a judicious and
  2   measured approach in strategizing to determine when, and whether, to file and
  3   litigate objections to disputed claims.       This analysis, and the Liquidating
  4   Trustee’s ultimate objective with regard to outstanding disputed claims, are
  5   dependent on the outcome of the Liquidating Trustee’s pending Litigation
  6   Claims. Successful prosecution of the Litigation Claims is critical to the interest
  7   of the Debtor’s creditors.
  8         The Liquidating Trustee anticipates that the resolution of a number of the
  9   above-referenced claims will be complex and time-consuming. The Liquidating
 10   Trustee believes that it is prudent not to incur the substantial expense that would
 11   be associated with objecting to the numerous and complex outstanding disputed
 12   claims in this case until there is clarity regarding the outcome of the Litigation
 13   Claims, and until an associated determination can be made that pursuing disputed
 14   claims litigation is likely to result in a tangible benefit to creditors that is not
 15   outweighed by costs.
 16         On July 12, 2018, the Court entered an order [Docket No. 653], pursuant to
 17   which the Court extended, through November 30, 2018, the deadline established
 18   by the Plan for the Liquidating Trustee to file objections to claims asserted
 19   against the Debtor’s estate (“Claim Objection Deadline”). On November 14,
 20   2018, the Court entered an order [Docket No. 763] extending through March 29,
 21   2019 the Claim Objection Deadline. On March 14, 2019, the Court entered an
 22   order [Docket No. 779], extending through March 30, 2020, the Claim Objection
 23   Deadline.
 24         C.     Distributions Made Under the Plan.
 25         The Debtor has made all distributions with respect to allowed
 26   administrative claims required by the Plan.       The Plan is a “pot” plan and,
 27   accordingly, there is no fixed payment to holders of Allowed General Unsecured
 28   Claims. As set forth hereinabove, the Liquidating Trustee is in the process of
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  1   pursuing the Litigation Claims to attempt to obtain recoveries for the benefit of
  2   the Debtor’s creditors. Moreover, the Liquidating Trustee is investigating claims
  3   asserted against the Debtor’s estate, and if appropriate, will file additional
  4   objections to disputed claims. The recovery by creditors in this case will depend,
  5   for the most part, upon the amount of any recoveries realized by the Liquidating
  6   Trustee from the pursuit of the Litigation Claims, and upon the success of
  7   objections to disputed claims asserted by the Liquidating Trustee. Accordingly, it
  8   is impossible at this time to predict either the timing or the ultimate recovery by
  9   creditors in this case.
 10         D.     Post-Confirmation Tax Liabilities.
 11         The Liquidating Trust does not have any undisputed post-confirmation tax
 12   liabilities. The Santa Barbara County Treasurer-Tax Collector (“Tax Collector”)
 13   has filed an untimely administrative claim concerning taxes on assets sold while
 14   the bankruptcy case was pending.         The Liquidating Trustee is currently
 15   negotiating, with the assistance of counsel, with the Tax Collector regarding this
 16   disputed claim, and the Liquidating Trustee has reserved against the claim
 17   pending evaluation and negotiations.
 18         E.     The Liquidating Trustee’s Ability to Continue to Comply with
 19                the Terms of the Plan.
 20         The Liquidating Trustee projects that it will be able to continue to comply
 21   with the terms of the Plan.
 22         F.     Plan Consummation and Motion for Final Decree
 23         While the Liquidating Trustee is acting diligently to pursue the Litigation
 24   Claims on behalf of the Debtor’s creditors, absent settlements of such litigation,
 25   the Liquidating Trustee expects such efforts to take considerable time and,
 26   therefore, cannot provide an estimate as to the date by which the Plan will be
 27   fully consummated and by which the Liquidating Trustee will be able to seek a
 28   final decree closing this case.
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  1   DATED: March 20, 2019.
  2                                       GRIFFITH & THORNBURGH, LLP
  3
                                          By _____________________________
  4                                             JOSEPH M. SHOLDER
  5                                             FELICITA A. TORRES
                                          Attorneys for Liquidating Trustee
  6                                       Appointed under Confirmed Ch. 11 Plan
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